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                      UM TED STA TES D ISTRICT C O UR T
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                               M IA M ID IV ISIO N

                     CaseNo.19-2593-M J-GOODM AN (SEALED)



 UM TED STA TES OF AM ER ICA ,
          Plaintiff,




 M AR 10 A M ILCA R ESTR AD A O RELLA N A etal,
             Defendantts).
                         /



       TH IS CAUSE came before the Court and pursuant to proceedings it is

 thereupon,PUR SU A N T TO THE AR REST O F TIIE A B O V E N A M ED

 DEFEN D A N T,TH IS CA SE IS H ER EB Y UN SEA LED .

 D O N E A N D O R D ER E D atM iam i,Florida.



 D ated:4/18/2019




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